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                    IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MISSOURI
                             EASTERN DIVISION


 JOHN DOE
     Plaintiff/Counterclaim Defendant,
                                                         Case No. 4:23-cv-01312-SEP

              vs.

 LESLIE SUTTON

        Defendant/Counterclaim Plaintiff


        PLAINTIFF/COUNTERCLAIM DEFENDANT JOHN DOE’S
        MEMORANDUM IN SUPPORT OF MOTION TO DISMISS
          COUNT I, COUNT II, COUNT IV, AND COUNT V OF
      DEFENDANT/COUNTERCLAIM PLAINTIFF LESLIE SUTTON’S
                       COUNTERCLAIM

      Comes now Plaintiff /Counterclaim Defendant Doe, by and through

undersigned counsel, and for his Memorandum in Support of his Motion to Dismiss

Counts I-II, and IV-V of Defendant/Counterclaim Plaintiff Sutton’s Counterclaim

states to the court as follows:

                                     INTRODUCTION

      Plaintiff/Counterclaim Defendant Doe filed this instant action against

Defendant/Counterclaim Plaintiff Sutton seeking damages for alleged violations of a

number of privacy torts, infliction of emotional distress and an alleged violation of

Missouri’s   statute    prohibiting     the      distribution   of    certain   photographs.

Defendant/Counterclaim Plaintiff Sutton subsequently filed a counterclaim against

Plaintiff/Counterclaim Defendant Doe seeking damages for alleged violations of

various privacy torts, intentional and negligent infliction of emotional distress (IIED

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and     NIED),   and   defamation     for   alleged   events    that   took   place   after

Plaintiff/Counterclaim Defendant Doe filed his lawsuit in St. Louis City Court on

August 30, 2023.

                        MOTION TO DISMISS STANDARD

        A complaint must contain "a short and plain statement of the claim showing

that the pleader is entitled to relief." Fed. R. Civ. Pro. 8(a)(2). To satisfy this

requirement, a plaintiff must plead "enough facts to state a claim to relief that is

plausible on its face." Corrado v. Life Inv'rs Ins. Co. of Am., 804 F.3d 915, 917 (8th

Cir. 2015) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). "A claim

has facial plausibility when the plaintiff pleads factual content that allows the court

to draw the reasonable inference that the defendant is liable for the misconduct

alleged." Barton v. Taber, 820 F.3d 958, 964 (8th Cir. 2016) (quoting Ashcroft v. Iqbal,

556 U.S. 662, 678 (2009)). "Threadbare recitals of the elements of a cause of action,

supported by mere conclusory statements, do not suffice." Zink v. Lombardi, 783 F.3d

1089, 1098 (8th Cir. 2015) (quoting Iqbal, 556 U.S. at 678), cert. denied, 135 S. Ct.

2941 (2015). The complaint's factual allegations must be "sufficient to 'raise a right

to relief above the speculative level.'" McDonough v. Anoka Cty., 799 F.3d 931, 946

(8th Cir. 2015) (quoting Twombly, 550 U.S. at 555).

                                     DISCUSSION

   I.      Count I - Defamation

        The elements of defamation in Missouri are: 1) publication, 2) of a defamatory

statement, 3) that identifies the plaintiff, 4) that is false, 5) that is published with the



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requisite degree of fault, and 6) damages the plaintiff's reputation. Nazeri v. Missouri

Valley College, 860 S.W.2d 303 (Mo. banc 1993). The requisite degree of fault for a

private figure is negligence, Overcast v. Billings Mutual Ins. Co., 11 S.W.3d 62, 70

(Mo. 2000). There is no doubt that matters of sexuality and sexual conduct are

intensely private, intensely sensitive, and a false public statement concerning them

is particularly harmful. Nazeri, 869 S.W.2d at 312. However, there are a couple of

issues with Defendant/Counterclaim Plaintiff Sutton’s defamation counterclaim,

which will be discussed below:

   a. Defendant/Counterclaim Plaintiff Sutton has Failed to Satisfy the Falsity of
      the Alleged Statement.

      Alleged defamatory words must be considered in context, giving them their

plain and ordinarily understood meaning. Brown v. Kitterman, 443 S.W.2d at 151;

Otto v. Kansas City Star Co., 368 S.W.2d 494, 497 (Mo.1963). In Kirk v. Ebenhoch,

191 S.W.2d 643, 645 (Mo.1945), it was stated that in a defamation action the words

alleged “are to be taken in the sense which is most obvious and natural and according

to [the] ideas they are calculated to convey to those to whom they are addressed.”

Matters of sexuality and sexual conduct are intensely private, intensely sensitive,

and a false public statement concerning them is particularly harmful. Nazeri, 869

S.W.2d at 312.

      Here, Defendant/Counterclaim Plaintiff Sutton has failed to establish the

fourth element of a defamation claim. Defendant/Counterclaim Plaintiff Sutton has

failed to demonstrate in her Counterclaim Complaint that Plaitiff/Counterclaim

Defendant    published    a   false   statement.     Defendant    first   asserts   that

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Plaintiff/Counterclaim Defendant Doe accused her of committing “sexual assault”

against him. However, Defendant mischaracterizes the contents of the website. See

Exhibits 1-2, Leslie Sutton Website. Nowhere does Plaintiff/Counterclaim Defendant

Doe mention “sexual assault.” Instead, Doe accused Sutton of “sexual abuse” and

"sexual violence." The word “sexual violence” is hyperlinked. Clicking the hyperlink

leads the viewer to a research article that states in the first sentence, "Image-based

Sexual Abuse is a recently studied form of violence and abuse perpetrated using

technology." 1

   b. Defendant/Counterclaim Plaintiff Sutton’s Defamation Claim Must Fail,
      Because There Is Truth to Alleged Statement Regarding “Sexual Abuse.”

       Truth is a defense to a defamation claim in Missouri. Under Missouri law, a

defendant is not liable for defamation if their challenged statements are

"substantially true," even though the statements may contain minor inaccuracies.

Totta v. CCSB Financial Corp., 695 S.W.3d 197, 204 (Mo.Ct.App. 2024). The test for

evaluating the defense of truth is whether the challenged statement is substantially

true, meaning that slight inaccuracies are immaterial if the allegedly defamatory

charge is true in substance. Id.

       Defendant/Counterclaim Plaintiff Sutton indicates that Plaintiff/Counterclaim

Defendant Doe asked her to remove certain photographs of him from her Twitter and

LoyalFans accounts, to which she complied. ¶ 31. Defendant/Counterclaim Sutton

does not refute that any allegations of her soliciting photos of Plaintiff/Counterclaim



1 See Maria Noemi Paradiso et al., Image-Based Sexual Abuse Associated Factors: A Systematic

Review, J. FAM. VIOLENCE * 1 (Apr. 25, 2023).

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Defendant Doe to other individuals without his consent were false. In fact,

Defendant/Counterclaim Plaintiff Sutton admitted to LoyalFans that the image of

Plaintiff/Counterclaim Defendant Doe she had sold to at least one follower was not

consensual. See Exhibit 3, Leslie Sutton Correspondence to LoyalFans. More

specifically,      Defendant/Counterclaim            Plaintiff     Sutton       admitted       that      the

nonconsensual dissemination of the image in question had “violat[ed] content

standard         11.6   in    the     LoyalFans          Terms and       Conditions.” 2      Id.       Thus,

Defendant/Counterclaim Plaintiff Sutton’s claim must fail, because she cannot

establish the falsity behind the statements published on Plaintiff/Counterclaim

Defendant Doe’s website.

    c. Defendant/Counterclaim Plaintiff Sutton’s Defamation Claim Must Fail,
       Because the Statement Was Not Made Within the Presence of Third Parties.

        Third parties must be aware of a defamatory statement made by a defendant

for it to be actionable. In defamation law, "publication" is a key element, which means

the communication of defamatory matter to a third person. See Nazeri, 860 S.W.2d

313. For a statement to be considered defamatory, it must be published, meaning it

must be communicated to someone other than the Defendant/Counterclaim Plaintiff




2 The Content Standards Section, located on page 12 of LoyalFans’ Terms of Service Agreement states

the following:

        These content standards (“Content Standards”) apply to all Content and the use of the
        Interactive Services. Content must comply with all federal, state, local, and
        international laws and regulations and credit card association standards. Content
        must not: . . . . Promote, depict, or constitute “revenge porn” (being any sexually explicit
        material featuring any individual who has not given prior, express, and informed
        consent to that material (a) being taken, captured, or otherwise memorialized; or (b)
        being posted and shared on the Website).

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Sutton. Here, Defendant/Counterclaim Plaintiff has failed to plead that the allegedly

defamatory statement was communicated to third parties.

   II.      Count II - Public Disclosure of Private Facts

         Under Missouri law, the elements of the tort of unreasonable publicity given

to another's private life are: (1) publication or publicity; (2) absent any waiver or

privilege; (3) of private matters in which the public has no legitimate concern; (4) so

as to bring shame or humiliation to a person of ordinary sensibilities. Y.G. v. Jewish

Hosp. of St. Louis, 795 S.W.2d 488, 498-99 (Mo. Ct. App. 1990). Under the first

element, publication means "communication to the public in general or to a large

number of persons, as distinguished from one individual or a few." St. Anthony's

Medical Ctr. v. H.S.H., 974 S.W.2d 606, 610 (Mo. Ct. App. 1998) (quoting Biederman's

of Springfield, Inc. v. Wright, 322 S.W.2d 892, 898 (Mo. 1959). "The critical aspect of

the publication requirement is public disclosure — communications that are available

to the general public, communications that have a likelihood of becoming public

knowledge." Childs v. Williams, 825 S.W.2d 4, 9 (Mo. Ct. App. 1992).

         Here, Defendant/Counterclaim Plaintiff Sutton alleges that on or about August

30, 2023, Counterclaim-Defendant filed a Petition (“Lawsuit”) with the Circuit Court

of the City of St. Louis seeking damages for Counterclaim-Plaintiff’s alleged

violations of various privacy torts and violation of RSMo. §573.110, all related to the

dissemination      of   the    aforementioned      photographs.       ¶   36.   Thereafter,

Defendant/Counterclaim        Plaintiff   Sutton   alleges   that    Plaintiff/Counterclaim

Defendant Doe published a website entitled Leslie-Sutton.com which listed her name,



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contact information, and private online account information, and further accused her

of committing sexual assault ¶ 37.

       Defendant/Counterclaim Plaintiff Sutton fails to sufficiently plead a public

disclosure of private facts claim, because the third element is not met. The existence

of the following subject matter regarding Defendant Leslie Sutton being a sex worker

was already made public upon Plaintiff/Counterclaim Defendant Doe’s filing of his

lawsuit against her via Casenet, which is a website created by The State of Missouri

Judiciary that “provide[s] free public access to case information.” 3 ¶¶ 36-7. Since July

1, 2023, the Missouri Judiciary has provided remote access to the public, allowing

them to view, download and print public case documents from their personal

computers, tablets or cell phones. 4 In other words, such information was already

public record before Plaintiff created the alleged website. While some of the

individual web pages on the site included a timestamped copy of the complaint and

summons, it did not include any outside information about Defendant/Counterclaim

Plaintiff Sutton that was private.




3 Case information available on Case.net comes from the information entered by judicial staff in the

court's computer database. Case information is immediately available through the internet.
Confidential court records are not available to the public on Case.net or through the court. See Public
Access                   to                     Records,                    MO.                   CTS.
https://www.courts.mo.gov/hosted/JUDEDintra/MOSAC/Missouri_Courts.html#:~:text=The%20State
%20of%20Missouri%20Judiciary,immediately%20available%20through%20the%20internet                   (last
visited Nov. 30, 2023).
4           See            Remote             Public            Access,            MO.            CTS.,
https://www.courts.mo.gov/page.jsp?id=195713#:~:text=The%20public%20now%20has%20%E2%80%
9Cremote,computers%2C%20tablets%20or%20cell%20phones. (last visited Nov. 30, 2023).


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   III.   Count IV - Intentional Infliction of Emotion Distress

      The essential elements of a claim for intentional infliction of emotional distress

are: (1) The defendant’s conduct must be outrageous or extreme; (2) The defendant

must act intentionally or recklessly; (3) There must be extreme emotional distress

that results in bodily harm; (4) Caused by the defendant’s conduct; and (5) The

conduct must be intended solely to cause extreme emotional distress to the victim.

Crow v. Crawford & Co., 259 S.W.3d 104, 119 (Mo. App 2008). See also, Conway v. St.

Louis County, 254 S.W.3d 159, 165-66 (Mo. App. 2008). Wrongful conduct alone

cannot serve as a basis for the tort, but instead, the conduct must have been so

outrageous and extreme as to go "beyond all possible bounds of decency, and to be

regarded as atrocious, and utterly intolerable in a civilized community." Thomas v.

Special Olympics Missouri, Inc., 31 S.W.3d 442, 446 (Mo. App. 2000) (quoting Gibson

v. Brewer, 952 S.W.2d 239, 249 (Mo. banc 1997)). In addition, it is essential that the

conduct be intended only to cause emotional distress to the victim. Id.

   A. Mailing of Lawsuit and the Causation of Defendant/Counterclaim Plaintiff
      Sutton’s Emotional Distress Is Insufficient.

      Defendant/Counterclaim Plaintiff Sutton asserts in her counterclaim that

during the course of their relationship, Plaintiff/Counterclaim Defendant Doe learned

that Defendant/Counterclaim Plaintiff Sutton’s parents were completely unaware of

her online sex work or participation in BDSM-related activities. She alleges that

“upon information and belief, on or around August 30, 2023, [Doe] mailed a copy of

the lawsuit, containing allegations of a sexual nature and disclosing graphic details

of [Sutton]’s anonymous online sex work, to her parents’ home.” ¶ 38. Furthermore,

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Defendant/Counterclaim Plaintiff Sutton states that upon information and belief,

Plaintiff/Counterclaim Defendant Doe “printed the lawsuit, placed it in an envelope,

addressed the same to [Sutton]’s parents’ residence, placed a stamp on the envelope,

and mailed the lawsuit to her parents with the sole intent to cause extreme emotional

distress to Defendant/Counterclaim Plaintiff Sutton.” ¶ 78.

      With regards to this allegation, Defendant/Counterclaim Plaintiff Sutton fails

to satisfy the causation element of her IIED claim on a couple of grounds. Firstly,

Defendant/Counterclaim Plaintiff Sutton’s allegations are merely speculative.

Defendant/Counterclaim Plaintiff Sutton does not state that Plaintiff/Counterclaim

Defendant Doe was in fact the one who mailed copies of the lawsuit to

Defendant/Counterclaim Plaintiff Sutton’s parents’ home. Defendant/Counterclaim

Plaintiff Sutton provides no supporting facts or exhibits in establishing that

Plaintiff/Counterclaim Defendant Doe was the sender listed on the envelope, either

via his legal name or his pseudonym. Nor does Defendant/Counterclaim Plaintiff

Sutton identify that Plaintiff/Counterclaim Defendant Doe’s distinctive address in

Canada was actually the sender’s address. Secondly, Defendant/Counterclaim

Plaintiff Sutton’s allegations that Plaintiff/Counterclaim Defendant Doe mailed

copies of the lawsuit to her parents on or around August 30, 2023 seems implausible

in terms of timing. Plaintiff/Counterclaim Defendant Doe did not file his Petition in

St. Louis City Circuit Court until August 30, 2023, at 5:28 PM. See Exhibit 4, Petition.

The summons was not published until September 4, 2023, and was not delivered to




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Sutton via Plaintiff’s appointed process server until September 17, 2023. See Exhibit

5, Service of Process Documents.

   B. Defendant/Counterclaim Plaintiff Sutton’s IIED Claim Must Fail Because Any
      Recovery for Emotional Distress as an Independent Tort Would Duplicate Part
      of the Recovery For the Libel, False Light, And Invasion of Privacy Claims
      Arising Out of the Same Conduct.

      Courts have held that IIED does not lie when the offending conduct consists

only of a defamation. Hester v. Barnett, 723 S.W.2d 544, 561 (Mo.App.1987); accord

Flynn v. Higham, 149 Cal.App.3d 677, 197 Cal.Rptr. 145, 148 (1983); Boyles v. Mid–

Florida Television Corp., 431 So.2d 627, 636 (Fla.Dist.Ct.App.1983), approved 467

So.2d 282 (Fla.1985). Damages for mental suffering are recoverable in a slander

action. Carter v. Willert Home Products, Inc., 714 S.W.2d 506, 510-511 (Mo. banc

1986). Any recovery for emotional distress as an independent tort would duplicate

part of the recovery for a slander claim arising out of the same conduct. Hester, 723

S.W.2d at 561.

      In Nazeri, supra, the plaintiff predicated a claim for intentional infliction of

emotional distress on a defamatory statement. This Court said,

      This tort ... does not lie when the offending conduct consists only of
      defamation.... Damages for mental suffering are recoverable in a slander
      action ... thus any recovery for emotional distress as an independent tort
      would duplicate part of the recovery for a slander claim arising out of the
      same conduct ... a separate emotional distress claim could be supported
      by pleading some additional wanton and outrageous act of the defendant,
      other than an attendant defamatory expression. However, appellant has
      not done so in her petition.

Nazeri, 860 S.W.2d at 316 (emphasis in original). The tort of IIED is a relative

newcomer to the common law that was intended to supplement existing forms of



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recovery, not swallow them. Cf. K.G. v. R.T.R., 918 S.W.2d 795, 799 (Mo. 1996) (citing

Rigazio v. Archdiocese of Louisville, 853 S.W.2d 295, 299 (Ky.App.1993)). Such

treatment is supported by the Restatement (Second) of Torts. It has been held that

where one's conduct amounts to the commission of one of the traditional torts, such

as battery, and the conduct was not intended only to cause extreme emotional distress

to the victim, the tort of intentional emotional distress will not lie, and recovery must

be had under the appropriate traditional common law action. Compare K.G., 918

S.W.2d at 799 with Restatement (Second) of Torts, § 47, comment b (“Where the actor's

tortious conduct in fact results in the invasion of another legally protected interest,

as where it inflicts bodily harm ... emotional distress, caused either by the resulting

invasion or by the conduct may be a matter to be taken into account in determining

damages”).

      Here, Defendant/Counterclaim Plaintiff Sutton is alleging an IIED claim for

events arising from Plaintiff/Counterclaim Defendant Doe publishing a defamatory

website. Defendant/Counterclaim Plaintiff asserts claims for defamation, public

disclosure of private facts, and false light. For the reasons discussed in Nazeri and in

K.G., IIED cannot engulf any of these other claims. Otherwise, any recovery for

emotional distress as an independent tort would duplicate part of the recovery for the

libel, false light, and invasion of privacy claims arising out of the same conduct. Thus,

Defendant/Counterclaim Plaintiff Sutton’s IIED claim must fail.




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   C. Defendant/Counterclaim Plaintiff Sutton’s IIED Claim Must Fail Because She
      Alleges Events That Were Not Solely Intended to Cause Severe Emotional
      Distress.

      In order to recover for IIED, one must allege not just that the actor knew that

emotional distress would result from his or her acts, but that this was

the sole motivation for the actor's conduct. Thomas, 31 S.W.3d at 448. Only in this

way can the tort be kept within reasonable bounds. Id. Where a desire to cause severe

emotional harm is not the sole motivation for the conduct alleged, ... suit cannot be

brought for intentional infliction of emotional distress. Id. See also Geran v. Xerox

Education Services, Inc., 469 S.W.3d 459, 468 (Mo.Ct.App. 2015).

      Here, Plaintiff Counterclaim Defendant Doe created, wrote, and published the

website with the sole intent to cause extreme emotional distress to Counterclaim-

Plaintiff. ¶ 70. Yet, Defendant Counterclaim Plaintiff Sutton also states that

Plaintiff/Counterclaim Defendant Doe published the website with the intention of

disclosing        Counterclaim-Plaintiff’s    private     and    secret       sex-life.        ¶      66.

Defendant/Counterclaim           Plaintiff    also   states      in     her         Petition        that

Plaintiff/Counterclaim Defendant Doe printed the lawsuit, placed it in an envelope,

addressed the same to her parents’ residence, placed a stamp on the envelope, and

mailed the lawsuit to her parents with the sole intent to cause extreme emotional

distress     to    Plaintiff/Counterclaim     Defendant    Sutton.      ¶     74.     Once         again,

Defendant/Counterclaim Plaintiff Sutton mailing the lawsuit to Counterclaim-

Plaintiff’s parents with the intention of disclosing Counterclaim-Plaintiff’s private

and secret sex-life was outrageous and extreme. ¶ 78.



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   IV.      Count V- Negligent Infliction of Emotion Distress

         The general elements of a negligence action are 1) a legal duty of the defendant

to protect the plaintiff from injury, 2) breach of the duty, 3) proximate cause, and 4)

injury to the plaintiff. Thornburg v. Federal Express Corp., 62 S.W.3d 421, 427 (Mo.

Ct. App. 2002). Claims seeking recovery of damages for the negligent infliction of

emotional distress require proof of two additional elements: 1) that the defendant

should have realized that his conduct involved an unreasonable risk of causing

distress, and 2) that the emotional distress or mental injury must be medically

diagnosable and must be of sufficient severity so as to be medically significant. Id.

         Defendant/Counterclaim Plaintiff Sutton claim for NIED fails for several

reasons. Firstly, Defendant/Counterclaim Plaintiff Sutton fails to demonstrate how

Plaintiff/Counterclaim Defendant Doe’s publishing of information that was already

public record was a breach of a duty of care. Secondly, Defendant/Counterclaim

Plaintiff Sutton fails to plead enough sufficient facts to establish a legal duty owed

by Plaintiff/Counterclaim Defendant Doe. See e.g. Henson v. Greyhound Lines, Inc.,

257 S.W.3d 627, 629 (Mo.Ct.App. 2008). Finally, Defendant/Counterclaim Plaintiff

Sutton fails to demonstrate that the alleged events were the proximate cause of her

emotional distress.

                                     CONCLUSION

         Based on the foregoing, Plaintiff/Counterclaim Defendant Doe respectfully

request that the Court GRANT his Motion and dismiss Counts I-II and IV-V of

Defendant/Counterclaim Plaintiff Sutton’s Counterclaim for failure to state a claim.



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                                               Respectfully Submitted,

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                          CERTIFICATE OF SERVICE

I caused a copy of the forgoing to be served upon all counsel of record this 18th Day
of April 2025 through electronic mail.

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